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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GREG MCMAHON and ADAM GOLDBERG,

                   Plaintiffs,

       v.                                                      Civil Action No. 2:21-cv-05660

GENERAC POWER SYSTEMS, INC.,

                   Defendant.



       PLEASE TAKE NOTICE that Joseph B. Kenney of Sauder Schelkopf LLC hereby

enters his appearance as co-counsel for Plaintiffs in the above-captioned action and requests that

all papers be served upon the undersigned.



DATED: March 28, 2022                                Respectfully submitted,


                                             By:     /s/ Joseph B. Kenney
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